       Case 3:25-cr-00222-FAB    Document 23     Filed 05/15/25   Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA,

                   Plaintiff,              Criminal No. 25-222 (FAB)

              v.

 [1] JOAN FELIX SANTANA-RUBIO,

                Defendant.



  UNITED STATES’ MOTION REQUESTING ORDER TO SCHEDULE AN
     INITIAL APPEARANCE AND ARRAIGNMENT HEARING FOR
                        DEFENDANT

TO THE HONORABLE COURT:

      COME NOW the United States of America, which very respectfully state,

allege and pray as follows:

      1. On May 7, 2025, a grand jury sitting in the District of Puerto Rico returned

an Indictment charging Joan F. Santana-Rubio (Santana-Rubio) with Conspiracy to

Possess with Intent to Distribute a Controlled Substance and a Firearms Trafficking

Conspiracy. (ECF No. 13).

      2. Santana-Rubio is currently detained at MDC and pending trial in criminal

case 23-346(FAB). He is being represented by CJA counsel Robert Millan in case 23-

346(FAB).
      Case 3:25-cr-00222-FAB      Document 23        Filed 05/15/25   Page 2 of 3




      WHEREFORE, the United States respectfully requests that this Honorable

Court issue an order scheduling the Initial Appearance and Arraignment hearings

for the defendant and that it appoints CJA counsel Robert Millan to represent

defendant in case 25-222(FAB).

      RESPECTFULLY SUBMITTED

In San Juan, Puerto Rico, this 16th of April 2025.


                                             W. STEPHEN MULDROW
                                             United States Attorney

                                              /s/ Antonio J. López-Rivera
                                              Antonio J. López-Rivera
                                              Assistant United States Attorney
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                                         2
       Case 3:25-cr-00222-FAB     Document 23     Filed 05/15/25   Page 3 of 3




                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to all parties.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 16th day of April 2025.


                                              /s/ Antonio J. López-Rivera
                                              Antonio J. López-Rivera – G03904
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